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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

    IZABELA TARASIEWICZ AND                      §
    THOMAS CROSIER                               §
         Plaintiffs,                             §
                                                 §
    v.                                           §         CIVIL ACTION NO. 5:22-CV-816
                                                 §
    PNC BANK, NATIONAL                           §
    ASSOCIATION                                  §
                                                 §
            Defendant.                           §
                                                 §

                                     NOTICE OF REMOVAL

          Defendant PNC Bank, National Association (“PNC”) files this Notice of Removal pursuant

to diversity jurisdiction under 28 U.S.C. § 1332.

                                               I.
                                         INTRODUCTION

          1.      On July 1, 2022, Plaintiffs Izabela Tarasiewcz and Thomas Crosier (“Plaintiffs”)

filed their Original Petition and Application for Temporary Restraining Order and Temporary

Injunction (“Petition”) in the 225th Judicial District Court of Bexar County, Texas under Cause

No. 2022-CI-12363. 1

          2.      In the Petition, Plaintiffs assert monetary damage claims against Defendant for

breach of contract stemming from the servicing of a mortgage of non-party Sergio Montufar

Chavez encumbering the real property located at 4042 Wilderness Ridge, San Antonio, Texas

78261 (the “Property”). Plaintiffs also seek injunctive relief and a declaratory judgment preventing

sale of the Property, and attorney’s fees.



1
    Exhibit A.
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        3.       Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, orders, and other

papers filed in the state court action and obtained by PNC are attached hereto and marked as

Exhibit A.

                                               II.
                                     TIMELINESS OF REMOVAL

        4.       This suit was filed on July 1, 2022. PNC was served with process on July 14, 2022.

Therefore, this Notice of Removal is timely. 2

                                        III.
                     BASIS FOR REMOVAL: DIVERSITY JURISDICTION

        5.       This Court has original jurisdiction over this lawsuit pursuant to 28 U.S.C. § 1332

(diversity jurisdiction). The requirements for diversity jurisdiction are met in this case, as Plaintiff

and PNC are completely diverse in citizenship and the amount in controversy, exclusive of

interests and costs, exceeds $75,000.00.

A.      Complete Diversity Exists.

        6.       Plaintiffs are citizens of Texas, residing in Bexar County, Texas. 3

        7.       PNC is a national bank with its designated main office in Delaware, and as such is

a citizen of the state of Delaware. 4

        8.       Because Plaintiff is a citizen of Texas and PNC is a citizen of Delaware, complete

diversity of the Parties exists.




2
  See Exhibit A, Return of Service.
3
  See Exhibit A, Pet. at ¶¶ 1, 2.
4
  See 28 U.S.C. § 1348 (national banks “shall...be deemed citizens of the States in which they are respectively
located.”); See also Wachovia Bank, N.A. v. Schmidt, 546 U.S. 303, 307, 126 S.Ct. 941, 945 (2006) (holding the term
“located” as used in § 1348 refers to the place designated as a national bank’s main office in its articles of
incorporation).

                                                        2
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B.         The Amount in Controversy Exceeds $75,000.00.

           9.       In the Original Petition, Plaintiffs seek injunctive relief to enjoin Defendant from

taking any action to foreclose the Property. 5 Further, Plaintiffs explicitly state they seek “monetary

relief over [$]250,000 but not more than $1,000,000.” Based on the monetary relief sought by

Plaintiffs, and the value of the injunctive relief sought, the amount in controversy exceeds

$75,000.00 and removal is proper.

                                                    IV.
                                                  VENUE

           10.      Venue is proper in the Western District of Texas, San Antonio Division pursuant

to 28 U.S.C. § 1441(a) because Bexar County, Texas is located within this District and cases

arising from Bexar County, Texas are properly assigned to the Western District of Texas. 6

                                              V.
                                   ADDITIONAL REQUIREMENTS

           11.      Plaintiffs have not demanded a jury trial.

           12.      Written notice of removal will be provided to Plaintiffs and filed with the District

Clerk of Bexar County, Texas contemporaneously with this pleading.

           Having satisfied the requirements for removal under 28 U.S.C. § 1332, PNC gives notice

that Cause No. 2022-CI-12363 now pending in the 225th Judicial District Court of Bexar County,

Texas, has been removed to this Court.




5
    See Exhibit A, Pet. at 3.
6
    28 U.S.C. § 124(d)(4).

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                     Respectfully submitted,




                     By: /s/ Gabriella Alonso
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                         ATTORNEYS FOR DEFENDANT




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                                CERTIFICATE OF SERVICE

       I certify that on this 27th day of July, 2022, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system. I further certify that a true and correct copy of the
foregoing has been served on all counsel of record as follows:


                    Via email: ken@osgclaw.com and austin@osglaw.com
                                         Kenneth Saks
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                                                     /s/ Gabriella Alonso
                                                     Gabriella Alonso




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